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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                             ORDER
                       Plaintiff,
                                                             Case No. 20-MJ-4168
               v.

SCOTT WALKER,
                       Defendant.




               The motion for an adjournment is granted. (Docket #       ). The status conference

shall be adjourned until   March 10, 2021 , at 10:30 am.
                                                      . The conference shall be held by phone.

               At defendant’s request, time shall be excluded in the interests of justice under 18

U.S.C. § 3161(h)(7) between today and the date for the status conference because I find that the

defendant’s and the public’s interests in a speedy trial are outweighed by the defendant’s interest

in having sufficient time to continue plea negotiations with the government and to obtain the

continued assistance of counsel.

IT IS SO ORDERED.




                                                               MARIAN W. PAYSON
                                                             United States Magistrate Judge

Dated: Rochester, New York
        January 11 , 2021
